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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

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In re:                                                                                  Chapter 11

                                                                                        Case No. 18-71748-67 (AST)
Orion HealthCorp, Inc., et al.,                                                         Case No. 18-71789 (AST)
                                                                                        Case No. 18-74545 (AST)

                                                Debtors.                                (Jointly Administered)



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Howard M. Ehrenberg in his capacity as Liquidating :
Trustee of Orion Healthcorp, Inc., et al.,
CHT : Holdco, LLC, and CC Capital CHT Holdco LLC,

                                                Plaintiffs,                             Adv. Pro. No. 20-08052


                             v.

Abruzzi Investments, LLC; John Petrozza

                                                Defendants.

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         I, Anthony F. Giuliano, declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746

as follows:


         1.        I am an attorney duly licensed to practice before all courts in the State of New

York. I am a partner with the law firm of Giuliano Law, PC, counsel for the Defendants. The

facts stated herein are of my own personal knowledge or made known to be from a review of

the files and pleading in this action which are maintained in the ordinary course of business.
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If called as a witness to any facts set forth herein, I could and would competently testify

thereto.

       2.     Plaintiff was duly served with Defendants’ Request for Production of

Documents, Set One on December 14, 2022. A copy of the Request for Production of

Documents in annexed hereto as Exhibit “A”.

       3.     The Document demand requested, among other things, Document Request 23:

Any and all DOCUMENTS, relating or referring to M&T Bank account: Account No.

0020000046, Routing Number: 9869416595; Document Request 29: Any and all

DOCUMENTS, the PLAINTIFF seeks to introduce at trial of this ACTION to substantiate

the claims as alleged in the COMPLAINT. See, Exhibit “A”.

       4.     In response to the Document Demand Plaintiff produced various documents,

including some documents relating to the M&T Bank Account. A copy of the documents

produced by Plaintiff are annexed hereto as Exhibit “B”. Plaintiff however, did not produce

all of the documentation he had in his possession, custody and control regarding the M&T

bank Account, but only a portion.

       5.     Additionally, Plaintiff obtained these documents by service of a third-party

subpoena in this action. Plaintiff failed to provide Defendants with notice of the subpoena

prior to issuing on M&T Bank or at anytime thereafter. A copy of the Subpoena and the

complete response by M&T are annexed hereto as Exhibit “C”.

       6.     Plaintiff’s failure to provide notice prohibited Defendants from examining

M&T Bank’s representative or to seek additional documents from M&T Bank which may also

exist that are relevant to this case.   Additionally, Plaintiff’s failure to produce these

documents is also prejudicial as it prohibited Defendants from more fully addressing the

M&T Bank account in its motion for summary judgment.




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       I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

       Executed this 7th day of May 2022.




                                                         /s/ Anthony F. Giuliano
                                                         Anthony F. Giuliano




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